USDC IN/ND case 3:18-cv-00017-RLM-SLC document 21 filed 04/02/19 page 1 of 3


                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 SOUTH BEND DIVISION

ANTHONY KEVIN MCCULLOUGH,                     )
                                              )
                Plaintiff,                    )
                                              )
         v.                                   )    CASE NO. 3:18-cv-00017-RLM-SLC
                                              )
ALICIA SEROCYNSKI,                            )
KENNETH WATTS,                                )
                                              )
                Defendants.                   )

          MOTION FOR EXTENSION OF TIME TO RESPOND TO COMPLAINT

         Defendant, Kenneth Watts, by Counsel Jordan Stover, Deputy Attorney General,

respectfully requests an extension of time of 28 days, up to and including May 3, 2019, to

respond to Plaintiff’s complaint under Local Rule 6-1.

         1.     A response to Plaintiff’s complaint is due on or about April 5, 2019.

         2.     Plaintiff’s complaint is lengthy and involves several issues of fact that require

substantial investigation. Defendant requires additional time to review the allegations and prepare

a response and respectfully requests an additional 28 days to do so, until and including May 3,

2019.

         3.     The deadline has not been previously extended;

         5.     This request is being made in good faith and not for the purpose of hindrance or

delay.

         6.     The Plaintiff is currently incarcerated, and contacting him for his consent to the

granting of this motion is impracticable.
USDC IN/ND case 3:18-cv-00017-RLM-SLC document 21 filed 04/02/19 page 2 of 3


          WHEREFORE, the Defendant requests that the Court grant an extension of time to

respond to Plaintiff’s Complaint, to and including May 3, 2019, and all other just and proper

relief.

                                             Respectfully submitted,


                                                    CURTIS T. HILL, JR.
                                                    Indiana Attorney General
                                                    Attorney No. 13999-20




                                             By:    Jordan M. Stover
                                                    Deputy Attorney General
                                                    Attorney No. 29502-49




                                 CERTIFICATE OF SERVICE
USDC IN/ND case 3:18-cv-00017-RLM-SLC document 21 filed 04/02/19 page 3 of 3



       I hereby certify that on April 2, 2019, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system. Notice of this filing will be sent to all registered parties by

operation of the Court’s electronic filing system.

Anthony Kevin McCullough
DOC #943257
Plainfield Correctional Facility
727 Moon Road
Plainfield, IN 46168




                                              By:     Jordan M. Stover
                                                      Deputy Attorney General

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